       Case 2:19-cv-04039-GEKP Document 102 Filed 10/18/22 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                               :
CARLOS VEGA                                    :
                                               :      CIVIL ACTION
              Plaintiff,                       :
       v.                                      :      No. 2:19-cv-04039
                                               :
CITY OF PHILADELPHIA AND                       :
LAWRENCE KRASNER                               :
           Defendants.                         :
                                               :

                   STIPULATION TO DISMISS LAWRENCE KRASNER

        The parties hereby agree to dismiss Defendant Lawrence Krasner from the above-

 captioned matter with prejudice and without assessment of fees and costs.



  ______/s/ Robert Davitch__________________       _____/s/ Lisa Swiatek_______________
  Robert Davitch, Esquire                          Lisa Swiatek, Esquire
  Sidney Gold, Esquire                             Counsel for Defendant
  Counsel for Plaintiff                            The City of Philadelphia


                                                    ____/s/ David Smith_____________
                                                    David Smith, Esquire
                                                    Anne Kane, Esquire
                                                    Samantha Banks, Esquire
                                                    Counsel for Defendant Lawrence Krasner




Dated: October 18, 2022




                       IN THE UNITED STATES DISTRICT COURT
          Case 2:19-cv-04039-GEKP Document 102 Filed 10/18/22 Page 2 of 2




                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                            :
CARLOS VEGA                                 :
and                                         :
JOSEPH WHITEHEAD,                           :           CIVIL ACTION
          Plaintiffs,                       :
     v.                                     :           No. 2:19-cv-04039
                                            :
CITY OF PHILADELPHIA AND                    :
LAWRENCE KRASNER                            :
           Defendants.                      :
                                            :
:

                                CERTIFICATE OF SERVICE


       I hereby certify that on October 18, 2022, the foregoing Stipulation to Dismiss

was electronically filed, and is available for viewing and downloading via the Court’s ECF

system.



                                                        ____/s/ Lisa Swiatek__________
                                                        Lisa Swiatek, Esquire
